Mr. Jones, Your Honor:
I want to take this opportunity to apologize to you-to everyone present here today,
my community, my kids, my family & country-both here and overseas and anyone
affected by my actions and my mistakes.
I would like to explain also, how I came to be here. I moved to the United States
when I turned 20 years old. I’ve lived, worked, became a father & raised my
daughter right here in southwest Virginia. I arrived with a couple of outfits, a
hundred-some dollars, a place to stay and a round-trip ticket. I did not plan on
overstaying my 90-day visa when I came here. I made decisions that did not help
me out long-term.
I overstayed my welcome by roughly 7 years because I did what I thought a good
father should do: be there for his kids. Your Honor, within a week or 2, I got my
then-girlfriend (who is now the mother of my child) pregnant. Again, I was 20 years
old. I knew that it would take me forever to save up the money to buy another plane
ticket-let alone the money for visas, immigration lawyers, etc.-and I simply wouldn’t
be the father that I am today.
I was TERRIFIED of deportation. There is nothing I can do besides learn from it,
move forward and work on the future. I have an enormously long road ahead of me
to be reunited with my daughter again. I can only hope my daughter will find it to
forgive me in the future- for my mistakes, my absence, and me losing track of what’s
truly important.
I am a proud father, family member, and although not a U.S. citizen, I am a proud
American. I ask for you, Your Honor, to give me time served so I can start the
process of being deported & work on being reunited with my daughter. I’ve tried to
do everything to show good effort: I’ve complied every step of the way-chose NOT to
bond out, pleaded guilty, signed off my rights to ICE and never contested my
deportation. I aim to make the right choices from here on out, and again, apologize
to everyone affected by my actions.


Thank you for your time,


Jaap Lijbers
